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                             UNITED STATES DISTRICT COURT 
                           FOR THE DISTRICT OF MASSACHUSETTS 
 
 
Typemock, Ltd.

               Plaintiff

       v.                                      CIVIL ACTION NO. 1:17-10274-RGS

Telerik Inc.

               Defendant

                            SETTLEMENT ORDER OF DISMISSAL

STEARNS, D.J.

       The Court having been advised on October 3, 2018 [dkt.98] that the above-

entitled action has settled;

       It is ORDERED that this action is hereby dismissed, without costs and without

prejudice to the right of any party, upon good cause shown, to reopen the action within

(60) days if settlement is not consummated.


                                                      By the Court,

Dated: October 4, 2018                                /s/ Arnold Pacho
                                                      Deputy Clerk
